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                         8
                         9                      UNITED STATES DISTRICT COURT
HAMRICK & EVANS, LLP




                        10                    CENTRAL DISTRICT OF CALIFORNIA
                        11   JOAN CELIA LEE, as Trustee for the Lee Case No.: 2:19-cv-08353
                             Family Survivor’s Trust “A” Date October
                        12   12, 1985,                                  NOTICE OF MOTION AND
                                                                        MEMORANDUM OF POINTS AND
                        13                 Plaintiff,                   AUTHORITIES IN SUPPORT OF
                                   v.                                   DEFENDANT POW!
                        14                                              ENTERTAINMENT, INC.’S
                             POW! ENTERTAINMENT, INC., a                MOTION FOR SANCTIONS
                        15   Delaware Corporation; and DOES 1           PURSUANT TO FED. R. CIV. P. 11
                             through 10, inclusive, in their individual
                        16   and official capacities;                   Hon. Judge Otis Wright
                        17              Defendants.                 Hearing Date: January 6, 2019
                                                                    Time: 1:30 p.m.
                        18                                          Dept.: 5-D
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                         1

                         2                        NOTICE OF MOTION AND MOTION

                         3 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
                         4         PLEASE TAKE NOTICE that on January 6, 2019, at 1:30p.m., in Courtroom

                         5 5-D of the United States District Court for the Central District of California located at
                         6 350 West 1st Street, Suite 4311, Los Angeles, California 90012-4565, before the
                         7 Honorable Otis Wright, United States District Court Judge, Defendant POW!
                         8 Entertainment, Inc. will move the Court for sanctions against Plaintiff Joan Celia Lee,
                         9 as Trustee for the Lee Family Survivor’s Trust “A” Date October 12, 1985, pursuant
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                        10 to Fed. R. Civ. P. 11 for filing the Complaint on the grounds that the claims and legal

                        11 contentions contained therein are not warranted by existing law or by nonfrivolous
                        12 argument for extending, modifying, or reversing existing law or for establishing new
                        13 law, and that Plaintiff filed the Complaint for an improper purpose. This Motion is
                        14 made and based on this Notice, the Memorandum of Points and Authorities attached
                        15 hereto, the pleadings and papers filed herein, including any reply papers filed by
                        16 Defendants, on the oral argument that the Court may desire to consider, and on such
                        17 other evidence and argument that the Court may choose to consider.
                        18         This Motion is made after repeated attempts to confer with Plaintiff’s counsel

                        19 pursuant to L.R. 7-3 and Fed. R. Civ. P. 11, having dispatched electronically and via
                        20 certified mail a letter and copy of the following motion to counsel on November 11,
                        21 2019, and having further reached out to counsel via email and telephone on November
                        22 25 and 26, offering to hold the conference at on any time on any of three possible

                        23 dates. Plaintiff’s counsel refused all of dates proposed by Defendant, and then, when

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                         1 Defendant accommodated Plaintiff’s schedule by slating the conference for December

                         2 2, 2019 (a date counsel was purportedly available), Plaintiff’s counsel cancelled just a
                         3 few hours before the scheduled time, now insisting he was unavailable for yet another
                         4 week.

                         5 DATED: December 3, 2019.                             Respectfully submitted,
                         6                                                      HAMRICK & EVANS LLP

                         7                                                      By: /s/ Charles C. Rainey
                                                                                Charles C. Rainey
                         8                                                      Attorney for Defendant
                                                                                POW! Entertainment, Inc.
                         9
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                         1         COMES NOW Defendant POW! ENTERTAINMENT, INC. (“POW!”) and

                         2 hereby moves this Court for entry of an Order of sanctions against Plaintiff, JOAN
                         3 CELIA LEE (“JC Lee”), pursuant to Fed. R. Civ. P. 11(b) and in support thereof, state
                         4 as follows:

                         5                MEMORANDUM OF POINTS AND AUTHORITIES

                         6         INTRODUCTION

                         7         Plaintiff has brought the present frivolous suit for the improper purpose of eliciting

                         8 negative press against the Defendant and its management. The present case purports to
                         9 seek the enforcement of contractual rights allegedly founded under a 1998 employment
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                        10 agreement between Stan Lee and Stan Lee Entertainment, Inc. (the “1998 Agreement”).

                        11 The entire Complaint hinges upon the enforcement of that 1998 Agreement. However,
                        12 the 1998 Agreement was conclusively found to be unenforceable by the United States
                        13 District Court for the Southern District of New York as well as multiple other federal
                        14 courts. Abadin v. Marvel Entertainment, Inc., No. 09 Civ. 0715 (PAC), 2010 WL
                        15 1257519 (S.D.N.Y. Mar. 31, 2010) (holding 1998 Agreement was terminated by Stan
                        16 Lee in 2001 and the statute of limitations to challenge that termination had lapsed, and
                        17 further finding that the 1998 Agreement, if not expressly terminated, expired in 2005
                        18 pursuant to Cal. Labor Code § 2855a) (appeal dismissed for failure to prosecute Abadin
                        19 v. Marvel Entertainment, Inc., No. 10–1717 (2d Cir. 2010)); Stan Lee Media, Inc. v. Walt
                        20 Disney Co., No. 12-CV-2663-WJM-KMT, 2013 WL 4776026 (D. Colo. Sept. 5, 2013),
                        21 aff'd, 774 F.3d 1292 (10th Cir. 2014); Stan Lee Media, Inc. v. Walt Disney Co., 774 F.3d
                        22 1292, 1299 (10th Cir. 2014) (quoting Stan Lee Media, Inc. v. Lee, 585 F. App'x 597, 598

                        23 (9th Cir. 2014)); Lee v. Marvel Enterprises, Inc., 765 F. Supp. 2d 440, 446-448

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                         1 (S.D.N.Y. 2011), aff'd, 471 F. App'x 14 (2d Cir. 2012); Disney Enterprises, Inc. v.

                         2 Entertainment Theatre Group, No. CIV.A. 13-5570, 2014 WL 5483487, at *9 (E.D. Pa.
                         3 2014); Stan Lee Media, Inc. v. Walt Disney Company, No. 12-CV-2663-WJM-KMT,
                         4 2014 WL 3767191, at *2 (D. Colo. July 31, 2014) citing Pannonia Farms, Inc. v. Re/Max

                         5 Int’l, Inc., 407 F.Supp.2d 41, 46 (D.D.C.2005); see also Defendant’s Request for Judicial
                         6 Notice filed concurrently herewith (hereafter “RJN”), Exhibits “A” through “I,”
                         7 inclusive.
                         8         Indeed, the enforceability of that 1998 Agreement was the subject of no fewer

                         9 than five federal lawsuits, all of which ultimately held the agreement to be
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                        10 unenforceable. Id. Moreover, the 2nd, 9th, and 10th Circuit Courts of Appeal have all

                        11 affirmed District Court decisions finding the 1998 Agreement unenforceable. Id. This
                        12 very Court, the Central District of California, has already held that the claims
                        13 presented in the Complaint are barred under the doctrine of res judicata. Id.
                        14         The issues and claims raised in this case have all been vociferously litigated and

                        15 relitigated ad nauseam. To bring these legally unjustifiable claims before this Court
                        16 again, after they have been struck down so many times before, is a grossly selfish and
                        17 inconsiderate waste of this Court’s time and resources. Litigation is not a game. The
                        18 federal courts are not a vehicle for litigants to harass others by filing frivolous claims
                        19 which wholly lack any conceivable merit under the existing facts or law.
                        20         As such, movant POW! Entertainment, Inc. respectfully requests that this Court

                        21 sanction Plaintiff and her counsel pursuant to Fed. R. Civ. P. 11 in an amount reasonably
                        22 calculated to deter Plaintiff’s future abuse of this Court’s resources. Furthermore,

                        23 movant recommends that the award of sanctions be substantial, taking into account the

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                         1 egregious nature of the Rule 11 violations committed by the Plaintiff and her counsel

                         2 and considering the Plaintiff’s considerable financial resources.
                         3          FACTUAL AND PROCEDURAL BACKGROUND

                         4          On September 26, 2019, Plaintiff filed her complaint in the present case, its

                         5 claims based entirely upon a contract from 1998, between Stan Lee and Stan Lee
                         6 Entertainment, Inc. – (i) a contract that the Plaintiff has no standing to enforce, (ii) a
                         7 contract that does not even address or concern the rights Plaintiff is trying to assert, and
                         8 (iii) a contract that has been fully and finally adjudicated by this Court, and at least
                         9 three other federal courts, as legally unenforceable. Even setting aside the obvious fact
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                        10 that all of the Plaintiff’s claims are barred by the applicable statutes of limitations, each

                        11 and every one of the Plaintiff’s claims, having been previously dismissed by this and
                        12 other courts, are barred by the doctrines of res judicata and collateral estoppel.
                        13          A. THE 1998 AGREEMENT.

                        14          On October 13, 1998, the legendary comic book writer, editor, and publisher,

                        15 Stan Lee, in conjunction with his then-associate Peter Paul, incorporated a Delaware
                        16 company known at the time as Stan Lee Entertainment, Inc. (“SLE”). See Comp., ¶14.
                        17 At that time, Stan Lee entered into an employment agreement with this new entity (the
                        18 “1998 Agreement”), in which Stan Lee agreed to serve as “Chairman, Publisher, and
                        19 Chief Creative Officer,” in exchange for an annual salary of $250,000 plus bonuses
                        20 and fringe benefits. See Employment Agreement, at ¶¶ 2-3, RJN, Exhibit “O.” The
                        21 1998 Agreement included, as is customary with such employment agreements, a
                        22 provision whereby Stan Lee assigned to the company the intellectual property rights

                        23 associated with any works he might create while in the company’s employ. Id. at ¶ 4.

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                         1 While the term of the 1998 Agreement was specified as the remainder of Stan Lee’s

                         2 lifetime, a federal court later ruled that, since it was a personal service contract
                         3 governed by California law, its term was statutorily limited to seven (7) years. Abadin
                         4 v. Marvel Entertainment, Inc., No. 09 Civ. 0715 (PAC), 2010 WL 1257519 (S.D.N.Y.

                         5 Mar. 31, 2010) (holding 1998 Agreement was terminated by Stan Lee in 2001 and
                         6 statute of limitations to challenge termination lapsed, and further holding 1998
                         7 Agreement, if not expressly terminated, expired in 2005 pursuant to Cal. Labor Code
                         8 § 2855a) (appeal dismissed for failure to prosecute Abadin v. Marvel Entertainment,
                         9 Inc., No. 10–1717 (2d Cir. 2010)); See also Id at ¶ 1. As noted by the court, “[t]here
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                        10 can be no attempt to enforce this contract beyond the statutory term.” Id.

                        11         B. THE CONVERSION FROM STAN LEE ENTERTAINMENT TO
                                      STAN LEE MEDIA.
                        12
                        13         Just a few months after forming SLE, on January 14, 1999, Peter Paul founded

                        14 another Delaware corporation, Stan Lee Media, Inc. (“SLMI (DE)”), which he later
                        15 merged with SLE on April 14, 1999. Then, just a few months later, Stan Lee and Peter
                        16 Paul took control of an existing publicly traded Colorado corporation, then named
                        17 Boulder Capital Opportunities, Inc., later renaming it as “Stan Lee Media, Inc.”
                        18 (“SLMI (CO)”). See Form SC14F1, filed on behalf of Boulder Capital Opportunities,
                        19 Inc., dated June 28, 1999, RJN, Exhibit “P”. (SLMI (CO) and SLMI (DE) shall be
                        20 collectively referred to herein as “SLMI”). See 8-K of Boulder Capital Opportunities,
                        21 Inc. dated July 23, 1999, RJN, Exhibit “Q.”
                        22         ///

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                                   C. PETER PAUL’S ILLEGAL ACTIVITIES AND THE DEMISE OF
                         1            STAN LEE MEDIA.
                         2         Peter Paul, with the aid of a handful of shareholders, hatched an illegal scheme
                         3 to prop-up the stock price of SLMI while borrowing millions against the stock,
                         4 effectively stripping all value out of the company for his own personal gain while

                         5 concealing this loss from the public markets. U.S. v. Paul, No. 2:01-cr-00636, Doc.
                         6 116, Superseding Indictment, 2004 WL 5745186 (E.D.N.Y., Aug 2, 2004). See RJN,
                         7 Exhibit “J.” As a direct result of Peter Paul’s illegal conduct, SLMI was forced into
                         8 bankruptcy on February 16, 2001.
                         9         While Plaintiff’s Complaint makes the conclusory and wholly unsupported
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                        10 claim that the demise of SLMI was somehow the result of deliberate bad business

                        11 decisions in the midst of the dot.com crash, the true cause of the company’s demise is
                        12 well documented. See e.g., Id at ¶ 13 (“By borrowing on margin, Paul and Stephen M.
                        13 Gordon, with the assistance of Jonathan Gordon and Pittsburg, effectively liquidated
                        14 large blocks of the stock without actually selling the stock into the market.”). Peter
                        15 Paul, despite having fled to Brazil to evade arrest, was eventually brought into custody,
                        16 charged, pleaded guilty, and was sentenced to ten (10) years in federal prison. U.S. v.
                        17 Paul, No. 2:01-cr-00636, Doc. 232, Judgment (E.D.N.Y., Jun. 26, 2009). See RJN,
                        18 Exhibibt “K.”
                        19         D. STAN LEE’S TERMINATION OF THE 1998 AGREEMENT.
                        20         “In January 2001 [before SLMI filed for bankruptcy] Lee wrote to SLMI
                        21 claiming SLMI was in complete breach of the salary and benefit provisions, inter alia,
                        22 of the 1998 agreement so that he was justified in terminating the agreement.” Abadin

                        23

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                         1 at *6. While various parties, acting on behalf of SLMI, tried years later to argue that

                         2 Stan Lee’s termination of the 1998 Agreement was somehow improper, those
                         3 arguments were all foreclosed by the ruling of the Southern District of New York, in
                         4 which the Court held the statute of limitations to challenge Lee’s termination of the

                         5 1998 Agreement had run as of 2005. Id. That court holding was then later cited by
                         6 this Court, in its ruling that the enforceability of the 1998 Agreement (or lack
                         7 thereof) had been fully and finally adjudicated on the merits, thereby precluding
                         8 further claims in relation thereto under the doctrine of res judicata. Stan Lee Media
                         9 Inc. v. Lee, No. 2:07-CV-00225-SVW, 2012 WL 4048871, at *3 (C.D. Cal. 2012),
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                        10 aff'd, 585 F. App’x 597 (9th Cir. 2014), See RJN, Exhibit “D”. Then, both of the

                        11 foregoing court rulings were cited by the District of Colorado, when it later held that
                        12 further efforts to enforce the 1998 Agreement were barred by the doctrine of Collateral
                        13 Estoppel. Stan Lee Media, Inc. v. Walt Disney Co., No. 12-CV-2663-WJM-KMT, 2013
                        14 WL 4776026 (D. Colo. Sept. 5, 2013), aff'd, 774 F.3d 1292 (10th Cir. 2014).
                        15         E. THE FORMATION AND OPERATION OF POW!
                                      ENTERTAINMENT.
                        16
                        17         On November 8, 2001, nearly ten months after terminating his relationship with

                        18 SLMI, Stan Lee partnered with Gill Champion and Arthur Lieberman, to form POW!
                        19 Entertainment, LLC (“POW!”).            Per the operating agreement of POW! and a

                        20 concurrently executed “Membership Purchase and Employment Agreement,” as his
                        21 capital contribution to POW!, Stan Lee assigned to POW! a host of intellectual property
                        22 rights, including, but not limited to, rights in his name and likeness, as well as rights in

                        23 any writings he created from that date forward.

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                         1         Over the next seventeen (17) years, Stan Lee would assign rights in his name

                         2 and likeness to POW! on multiple occasions. See Compl. ¶ 18 (noting that Stan Lee
                         3 assigned and re-assigned to POW! rights in his name and likeness on “no less than 6
                         4 occasions”). While some of these assignments were generally worded, others expressly

                         5 included posthumous rights to Stan Lee’s name, likeness, signature, voice, and unique
                         6 personal characteristics, as well as granting to POW! all copyrights in Lee’s writings
                         7 from 2001 onward. Also, in 2006, 2007, 2008, and 2011, Stan Lee executed multiple
                         8 consents of use to be filed with the United States Trademark and Patent Office
                         9 (“USPTO”), specifically granting to POW! the right to use Stan Lee’s name and
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                        10 signature in commerce and register the corresponding trademarks. See Consent to Use,

                        11 RJN, Exhibit “L”.
                        12         F. PETER PAUL’S INSATIABLE APPETITE FOR FRIVOLOUS AND
                                      DUPLICATIVE LITIGATION.
                        13
                        14         Starting in 2007, Peter Paul orchestrated a series of court cases and other related

                        15 legal actions in an effort to resuscitate the 1998 Agreement – all of which failed:
                        16               1.     On July 9, 2007, SLMI filed suit against Stan Lee and POW!

                        17 Entertainment, LLC in this very Court, the Central District of California, seeking to
                        18 revive the 1998 Agreement by alleging what were essentially the same claims as those
                        19 presented by Plaintiff in the present case.
                        20               2.     On January 26, 2009, SLMI shareholders Jose Abadin and

                        21 Christopher Belland filed suit derivatively on behalf of SLMI in the Southern District
                        22 of New York against Marvel Entertainment, Inc., seeking to enforce the 1998

                        23 Agreement and alleging that, under the 1998 Agreement, SLMI owned rights in a Stan

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                         1 Lee’s name and likeness as well as a host of Marvel properties.

                         2                3.    On July 26, 2010, SLMI moved to intervene in the case of Stan Lee

                         3 v. Marvel Entertainment, once again asserting rights under the 1998 Agreement. See
                         4 RJN, Exhibit “M”.

                         5                4.    On October 9, 2012, SLMI filed yet another suit, this time in the

                         6 District of Colorado, seeking to enforce its purported rights under the 1998 Agreement
                         7 against Walt Disney Company.
                         8                5.    On January 7, 2014, SLMI filed a motion to intervene in the case

                         9 of Disney Enterprises, Inc. v. Entertainment Theater Group, again claiming that it had
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                        10 rights to certain intellectual properties under the 1998 Agreement. See RJN, Exh, “N”.

                        11         While Peter Paul was not a direct litigant in any of these lawsuits, it was widely

                        12 acknowledged and understood that he was the chief architect of the litigation. See e.g.,
                        13 Abadin, at *5 n. 4; see also Stan Lee Media Inc. v. Lee, No. 2:07-CV-00225-SVW,
                        14 2012 WL 4048871, at *5 (C.D. Cal. Aug. 23, 2012), aff'd on other grounds, 585 F.
                        15 App'x 597 (9th Cir. 2014).
                        16         Predictably, each and every one of the foregoing lawsuits ended badly for SLMI,

                        17 Paul, and its related parties. The Courts repeatedly struck down SLMI’s claims and
                        18 found the 1998 Agreement to be wholly unenforceable:
                        19                1.    First, in the case of Abadin v. Marvel before the Southern District

                        20 of New York, Judge Paul Crotty found that (1) the 1998 Agreement was terminated by
                        21 Stan Lee in 2001, and the statutory period in which to challenge that termination had
                        22 lapsed; and (2) even if it hadn’t been terminated in 2001, as a personal service contract,

                        23 it would have expired by its own terms by 2005, pursuant to Cal. Labor Code § 2855(a).

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                         1 Abadin v. Marvel Entertainment, Inc., No. 09 Civ. 0715 (PAC), 2010 WL 1257519

                         2 (S.D.N.Y. Mar. 31, 2010) (holding 1998 Agreement was terminated by Stan Lee in
                         3 2001 and the statute of limitations to challenge that termination had lapsed, and further
                         4 finding that the 1998 Agreement, if not expressly terminated, expired in 2005 pursuant

                         5 to Cal. Labor Code § 2855(a) (appeal dismissed for failure to prosecute Abadin v.
                         6 Marvel Entertainment, Inc., No. 10–1717 (2d Cir. 2010)). While Abadin and the other
                         7 plaintiffs initially sought to appeal Judge Crotty’s decision, the appeal was ultimately
                         8 dismissed for failure to prosecute. Abadin v. Marvel, No. 10–1717 (2d Cir. Dec. 29,
                         9 2010).
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                        10               2.     Then, in the case of Stan Lee v. Marvel, also before the Southern

                        11 District of New York, Judge Robert Sweet again held that the 1998 Agreement was
                        12 unenforceable, citing Judge Crotty’s opinion in the Abadin case as a final judgment on
                        13 the merits, thereby rendering the matter res judicata. Lee v. Marvel, 765 F. Supp. 2d
                        14 440, 456 (S.D.N.Y. 2011), aff'd, 471 F. App'x 14 (2d Cir. 2012). This time, SLMI
                        15 appealed to the Second Circuit, where the lower court’s decision was affirmed. Id.
                        16               3.     Then, in the case of SLMI v. Lee, before this Court, the Central

                        17 District of California, Judge Stephen Wilson also found that the Abadin decision had
                        18 fully adjudicated SLMI’s claims under the 1998 Agreement, thereby rendering the
                        19 matter res judicata. Stan Lee Media Inc. v. Lee, No. 2:07-CV-00225-SVW, 2012 WL
                        20 4048871, at *4 (C.D. Cal. Aug. 23, 2012), aff'd on other grounds, 585 F. App'x 597
                        21 (9th Cir. 2014). Again, SLMI appealed, this time to the Ninth Circuit, and again the
                        22 decision was affirmed. Stan Lee Media v. Lee, 585 F. App'x 597, 598 (9th Cir. 2014).

                        23               4.     Then, in the case of SLMI v. Disney, before the District of Colorado,

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                         1 Judge William Martinez, noting the prior court decisions, held that SLMI’s claims

                         2 under the 1998 Agreement were barred by the doctrine of collateral estoppel. Stan Lee
                         3 Media v. Walt Disney Co., No. 12-CV-2663-WJM-KMT, 2013 WL 4776026, at *4 (D.
                         4 Colo. Sept. 5, 2013), aff'd, 774 F.3d 1292 (10th Cir. 2014). Again, SLMI appealed, this

                         5 time to the Tenth Circuit, and again the decision was affirmed. Stan Lee Media. v. Walt
                         6 Disney Co., 774 F.3d 1292 (10th Cir. 2014).
                         7                5.    Then, in the case of Disney v. Entertainment Theater Group, before

                         8 the Eastern District of Pennsylvania, Judge Jeffrey Schmehl, also noting the many prior
                         9 decisions on the issue, sided with the opinion of Judge Martinez in the District of
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                        10 Colorado, finding that SLMI’s claims under the 1998 Agreement were barred under

                        11 the doctrine of collateral estoppel. Disney Enterprises, Inc. v. Entm't Theatre Grp., No.
                        12 CIV.A. 13-5570, 2014 WL 5483487, at *5 (E.D. Pa. Oct. 30, 2014).
                        13         Time and again, SLMI, under Paul’s direction, sought to resurrect the 1998

                        14 Agreement, and each and every time the Court struck down such efforts with increasing
                        15 forcefulness – even going so far as to specifically label the claims as “frivolous.” Stan
                        16 Lee Media v. Walt Disney Co., No. 12-CV-2663-WJM-KMT, 2014 WL 3767191, at
                        17 *2 (D. Colo. July 31, 2014). Now, in the present case, Plaintiff seeks to once again
                        18 resurrect these previously adjudicated claims.
                        19          APPLICABLE LAW AND ARGUMENT

                        20         Rule 11 of the Federal Rules of Civil Procedure provides the Court with the

                        21 authority to impose sanctions on any person who signs and presents to the Court a
                        22 pleading, motion or other paper that is either “frivolous” or is filed for an “improper

                        23

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                         1 purpose.” G.C. & K.B. Invs., Inc. v. Wilson, 326 F.3d 1096, 1109 (9th Cir. 2003). Rule

                         2 11 states, in pertinent part:
                         3               By presenting to the court a pleading, written motion, or other
                         4               paper—whether by signing, filing, submitting, or later
                                         advocating it—an attorney or unrepresented party certifies that
                         5               to the best of the person's knowledge, information, and belief,
                                         formed after an inquiry reasonable under the circumstances:
                         6                  (1) it is not being presented for any improper purpose, such as
                                                to harass, cause unnecessary delay, or needlessly increase
                         7                      the cost of litigation;
                         8                  (2) the claims, defenses, and other legal contentions are
                                                warranted by existing law or by a nonfrivolous argument
                         9                      for extending, modifying, or reversing existing law or for
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                                                establishing new law;
                        10                  (3) the factual contentions have evidentiary support or, if
                                                specifically so identified, will likely have evidentiary
                        11
                                                support after a reasonable opportunity for further
                        12                      investigation or discovery; and
                                            (4) the denials of factual contentions are warranted on the
                        13                      evidence or, if specifically so identified, are reasonably
                                                based on belief or a lack of information.
                        14
                                                                                       Fed. R. Civ. P. 11(b).
                        15
                        16         If this certification requirement is violated, then “the court may impose an

                        17 appropriate sanction upon the parties that have violated subdivision (b) or are
                        18 responsible for the violation.” Fed. R. Civ. P. 11(c).
                        19         The Ninth Circuit has held that, under Rule 11, the imposition of sanctions for

                        20 either “frivolousness” or an “improper purpose” does not require a finding of subjective
                        21 bad faith by the signer of the paper. Zaldivar v. City of Los Angeles, 780 F.2d 823, 829
                        22 (9th Cir. 1986), overruled on other grounds, Cooter & Gell v. Hartmarx Corp., 496

                        23 U.S. 384 (1990). Rather, Rule 11 demands only that such inquiries be measured against

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                         1 an objective standard of reasonableness. Zaldivar, 780 F.2d at 829; see also Townsend

                         2 v. Holman Consulting Corp., 929 F.2d 1358, 1362 (9th Cir. 1991).
                         3         A claim is “frivolous” if it is “‘both baseless and made without a reasonable and

                         4 competent inquiry.” Buster v. Greisen, 104 F.3d 1186, 1190 (9th Cir. 1997) (quoting

                         5 Townsend, 929 F.2d at 1362). Put another way, a frivolous claim is one that is “legally
                         6 unreasonable, or without legal foundation.” Zaldivar, 780 F.2d at 831. Under Rule
                         7 11(b)(2), the filing attorney or party filing in proper person is required to conduct a
                         8 reasonable inquiry into the legal underpinnings of their claims before signing a
                         9 complaint. See Fed. R. Civ. Pro. 11(b) advisory committee's note (“[Subdivision b
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                        10 requires] attorneys and pro se litigants to conduct a reasonable inquiry into the law and

                        11 facts before signing pleadings, written motions, and other documents, and prescribing
                        12 sanctions for violation of these obligations”); see also Warren v. Guelker, 29 F.3d
                        13 1386, 1390 (9th Cir. 1994) (“[Rule 11(b) ] explicitly applies to parties not represented
                        14 by attorneys”).
                        15         The Ninth Circuit has held that where, as here, a Plaintiff brings claims clearly

                        16 barred by the applicable statute of limitations, in the absence of some legally cognizable
                        17 justification, such claims are inherently frivolous. Mir v. Little Co. of Mary Hosp. 844
                        18 F2d 646, 653 (9th Cir. 1988). Furthermore, in cases such as the one at bar, where
                        19 parties assert the same or substantially similar claims as those previously decided in
                        20 other cases, Rule 11 sanctions are proper. Maciosek v. Blue Cross & Blue Shield (7th
                        21 Cir. 1991) 930 F2d 536, 542; Welk v. GMAC Mortg., LLC (8th Cir. 2013) 720 F3d 736,
                        22 738-739. This also applies to lawyers who repeatedly file claims that have been rejected

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                         1 as unwarranted by law in other lawsuits on behalf of different clients. Roundtree v.

                         2 United States (9th Cir. 1994) 40 F3d 1036, 1040.
                         3         A. THE PRESENT CASE IS FRIVOLOUS BECAUSE EACH AND
                                      EVERY CLAIM IS BARRED BY THE DOCTRINES OF RES
                         4            JUDICATA AND COLLATERAL ESTOPPEL.
                         5         Plaintiff should be sanctioned for squandering the time and resources of this
                         6 court on a case in which each and every claim is predicated upon the same contract that
                         7 this Court, as well as several other courts, has already to be unenforceable. Plaintiff’s
                         8 entire case is barred under the doctrines of res judicata and collateral estoppel.
                         9         “Res judicata, also known as claim preclusion, bars litigation in a subsequent
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                        10 action of any claims that were raised or could have been raised in the prior action.”

                        11 Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 713 (9th Cir. 2001) (quoting
                        12 Western Radio Servs. Co. v. Glickman, 123 F.3d 1189, 1192 (9th Cir.1997)). The
                        13 doctrine is applicable whenever there is “(1) an identity of claims, (2) a final judgment
                        14 on the merits, and (3) identity or privity between parties.” Id. Moreover, “[t]he central
                        15 criterion in determining whether there is an identity of claims between the first and
                        16 second adjudications is ‘whether the two suits arise out of the same transactional
                        17 nucleus of facts.’” Id. at 714 (quoting Frank v. United Airlines, Inc., 216 F.3d 845, 851
                        18 (9th Cir.2000)). Additionally, “[w]hether a prior disposition is published or
                        19 unpublished is of no consequence—unpublished decisions have the same preclusive
                        20 effect.” Kaffaga v. Estate of Steinbeck, 938 F.3d 1006, 1013 (9th Cir. 2019) (citing 9th
                        21 Cir. R. 36-3). “The doctrine of res judicata rests upon the ground that the party to be
                        22 affected, or some other with whom he is in privity, has litigated, or had an opportunity

                        23 to litigate, the same matter in a former action in a court of competent jurisdiction, and

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                         1 should not be permitted to litigate it again to the harassment and vexation of his

                         2 opponent.” Hatchitt v. United States, 158 F.2d 754, 757 (9th Cir. 1946).
                         3         Here, Plaintiff openly asserts that she in privity with the parties to the 1998

                         4 Agreement, not only asserting that she is the successor in interest to the late Stan Lee,

                         5 but also asserting that she has "joined forces with . . . Stan Lee Entertainment,” as she
                         6 seeks declaratory relief under the 1998 Agreement. (Compl. ¶¶ 20, 39-60). However,
                         7 this very Court has already ruled that Plaintiff’s claims are barred by the doctrine of
                         8 res judicata. See Stan Lee Media Inc. v. Lee, No. 2:07-CV-00225-SVW, 2012 WL
                         9 4048871, at *3 (C.D. Cal. Aug. 23, 2012), aff'd, 585 F. App'x 597 (9th Cir. 2014). In
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                        10 the case of Stan Lee Media, Inc. v. Stan Lee, this Court expressly ruled that the

                        11 enforceability of the 1998 Agreement was barred by the doctrine of res judicata. Id.
                        12 Specifically, this Court noted that the Southern District of New York, in the case of
                        13 Abadin v. Marvel, already issued a ruling on the merits, finding: (1) the 1998
                        14 Agreement was terminated by Stan Lee in 2001, and the statutory period in which to
                        15 challenge that termination had lapsed; and (2) even if it hadn’t been terminated in 2001,
                        16 as a personal service contract, it would have expired by its own terms by 2005 per
                        17 California Labor Code Section 2855(a). Abadin v. Marvel Entm't, Inc., No. 09 Civ.
                        18 0715(PAC), 2010 WL 1257519 (S.D.N.Y. Mar. 31, 2010). As stated by the Abadin
                        19 Court, “[t]here can be no attempt to enforce this contract beyond the statutory term.”
                        20 Id. at 6.
                        21         Moreover, this Court is not alone in finding that the basis for Plaintiff’s was

                        22 barred by the doctrines of preclusion. See Stan Lee Media, Inc. v. Walt Disney Co., No.

                        23 12-CV-2663-WJM-KMT, 2013 WL 4776026 (D. Colo. Sept. 5, 2013) (dismissing the

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                         1 issue of the 1998 Agreement’s enforceability on grounds of collateral estoppel as it had

                         2 been previously decided on its merits by multiple courts), aff'd, 774 F.3d 1292, 1299
                         3 (10th Cir. 2014) (quoting Stan Lee Media, Inc. v. Lee, 585 F. App'x 597, 598 (9th Cir.
                         4 2014)) (stating the claims predicated on rights in the 1998 Agreement were “simply

                         5 implausible”). Additionally, in a second case before the Southern District of New York,
                         6 SLMI, intervening into a previously settled case between Stan Lee and Marvel
                         7 Enterprises, attempted to enforce purported rights under the 1998 Agreement, making
                         8 the same legal arguments raised in the prior cases, which are the same legal arguments
                         9 made by Plaintiff in the Complaint. See Lee v. Marvel Enterprises, Inc., 765 F. Supp.
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                        10 2d 440, 446-448 (S.D.N.Y. 2011), aff'd, 471 F. App'x 14 (2d Cir. 2012).

                        11         Not to be dissuaded, SLMI sought to intervene and resuscitate rights under the

                        12 1998 Agreement in yet another case, this time before the Eastern District of
                        13 Pennsylvania. There too, the court found that the intervener’s efforts to assert rights
                        14 under the 1998 Agreement were precluded under the doctrine of res judicata, stating
                        15 “the Court is easily satisfied that the claims clearly deal with the same subject matter,
                        16 and it would be unfair to the winning party and an unnecessary burden on the courts to
                        17 allow repeated litigation of the same issue in what is essentially the same controversy.”
                        18 Disney Enterprises, Inc. v. Entm't Theatre Grp., No. CIV.A. 13-5570, 2014 WL
                        19 5483487, at *6-9 (E.D. Pa. Oct. 30, 2014) (internal quotations omitted).
                        20         In addition to the foregoing courts decisively finding that Plaintiff’s claims are

                        21 barred by the doctrines of res judicata and collateral estoppel, the District Court of
                        22 Colorado also found that they are patently frivolous. In deciding a motion for attorney’s

                        23 fees, that court specifically found the assertion of rights under the 1998 Agreement to

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                         1 be frivolous, stating, “The Court finds that it was objectively unreasonable for [SLMI]

                         2 to pursue its copyright claims under the 1998 Agreement after three District Courts had
                         3 previously found that it had no basis for asserting ownership of any of the claimed
                         4 copyrights.” Stan Lee Media, Inc. v. Walt Disney Company, No. 12-CV-2663-WJM-

                         5 KMT, 2014 WL 3767191, at *2 (D. Colo. July 31, 2014) (citing Pannonia Farms, Inc.
                         6 v. Re/Max Int'l, Inc., 407 F.Supp.2d 41, 46 (D.D.C.2005)).
                         7         The claims raised in Plaintiff’s Complaint have been litigated and re-litigated ad

                         8 nauseam. Attempting to bring such claims again, after being struck down numerous
                         9 times by prior courts, including this very Court, is a gross waste of judicial time and
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                        10 resources. This is particularly true in light of the fact that Plaintiff’s Complaint is

                        11 devoid of any argument whatsoever for extending, modifying, or reversing existing law
                        12 or for establishing new law, as required by Rule 11. The federal courts are not a vehicle
                        13 for litigants to harass others by filing frivolous claims that wholly lack any conceivable
                        14 merit under the existing facts or law. Accordingly, this Court should sanction Plaintiff
                        15 under Rule 11 for filing the Complaint predicated on rights arising under the 1998
                        16 Agreement, which has been held by multiple courts to be unenforceable and barred by
                        17 res judicata.
                        18         B. THE PRESENT CASE WAS BROUGHT FOR THE IMPROPER
                                      PURPOSE OF GARNERING NEGATIVE PUBLICITY AGAINST
                        19            THE DEFENDANT AND ITS MANAGEMENT.
                        20         This Court should further sanction Plaintiff for filing the Complaint in
                        21 furtherance of the improper purpose of garnering negative publicity against the
                        22 Defendant and its management.

                        23         Examples of an “improper purpose” include motives “such as to harass, cause

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                         1 unnecessary delay, or needlessly increase the cost of litigation[.]” Fed. R. Civ. P.

                         2 11(b)(1). Moreover, a finding of “improper purpose” is determined upon a review of
                         3 the facts and law; an “improper purpose” can be deduced where there is no legal or
                         4 factual basis for a claim. Paciulan v. George, 38 F. Supp. 2d 1128 (N.D. Cal. 1999).

                         5 The frivolous and improper purpose prongs of Rule 11 overlap, and “‘evidence bearing
                         6 on frivolousness... will often be highly probative of purpose.’” In re Grantham Bros.,
                         7 922 F.2d 1438, 1443 (9th Cir. 1991) (citation omitted). Groundless claims brought for
                         8 the purpose of harassment justify Rule 11 sanctions. See Hudson v. Moore Business
                         9 Forms, Inc., 836 F.2d 1156, 1163 (9th Cir. 1987).
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                        10           Here, the claims in Plaintiff’s Complaint are predicated on rights arising under

                        11 the 1998 Agreement, which has been held by multiple courts to be unenforceable and
                        12 barred by the doctrines of res judicata and collateral estoppel. The advancement of
                        13 such claims is not for proper adjudication on the merits, but rather, to generate adverse
                        14 publicity for the Defendant and to smear the reputations of POW! and its president,
                        15 Gill Champion.
                        16           This, particularly in light of the frivolousness of Plaintiff’s claims, is evidenced

                        17 by its numerous immaterial, unfounded factual allegations – most of which appear to
                        18 serve no purpose other than to provide scandalous accusations against POW! and its
                        19 management.1 Plaintiff alleges that Gill Champion and a former founder of POW!,
                        20 Arthur Lieberman, joined together to “engineer the financial collapse of [SLMI]
                        21 through a series of financing guaranteed to collapse the company’s stock so that the
                        22
                             1
                               The demonstrably false accusations are so voluminous that Defendant can only focus on a few particularly egregious
                        23   fabrications in this Motion.

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                         1 company could be placed into Chapter 11 Bankruptcy protection” and thereby enabling

                         2 them to “loot the assets of Stan Lee Entertainment, a/k/a Stan Lee Media, and enrich
                         3 themselves at the expense of Stan Lee, the creditors and shareholders.” (Compl. ¶¶ 16,
                         4 32).

                         5         However, in reality, it is a well-documented fact that the demise of SLMI is

                         6 attributable to the criminal acts of the company’s co-founder, Peter Paul, and certain
                         7 co-indicted conspirators. USA v. Peter Paul, Stephen M. Gordon, Jeffrey Pittsburg,
                         8 Charles Kusche and Jonathan Gordon, Defendants., 2004 WL 5745186 (E.D.N.Y.)
                         9 (detailing that Peter Paul, et. al., engaged in a scheme that involved borrowing funds
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                        10 on margin, effectively liquidating large blocks of SLMI stock while manipulating the

                        11 stock price to conceal the downward pressure that this liquidation would have
                        12 otherwise placed on the stock price). Plaintiff also claims that the action is brought to
                        13 “expose manifold frauds visited upon Stan Lee from 2001 through 2018 by Defendant,
                        14 its CEO Gill Champion and a range of unsavory characters[.]” (Compl. ¶ 20).
                        15         And yet, the Complaint fails to even bring a cause of action for fraud against

                        16 POW! or provide any facts to corroborate such a conclusory and unsupported
                        17 statement. Plaintiff goes on to state, “In June, 2019, it was revealed in multiple media
                        18 outlets in China and around the world, with the arrest and jailing of Vivian Lo, the
                        19 Founder and Chairman of Camsing International, the current alleged and erstwhile
                        20 parent of POW!, that Lo and Camsing, aided by Champion, have been engaged over
                        21 the last three years in a massive $1.2 billion finance fraud.” (Compl. ¶ 38). In actuality,
                        22 no news outlet implicated POW! or Mr. Champion in any criminal conduct whatsoever.

                        23 The only accusation of criminality was from Plaintiff’s own defamatory press release

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                         1 self-servingly issued in early August of 2019. Gene Maddaus, Stan Lee’s Daughter

                         2 Seeks to Cut Ties With Camsing International, Variety (Aug. 7 2019),
                         3 https://variety.com/2019/biz/news/stan-lees-daughter-camsing-pow-entertainment-
                         4 1203295458/.

                         5         Furthermore, Plaintiff purports that Stan Lee assigned to SLMI in the 1998

                         6 Agreement a “perpetual and unconditional assignment of every imaginable creator
                         7 right he owned or would own in the future, along with the exclusive rights to his name
                         8 and likeness.” Compl. ¶¶ 14, 26-27, 39. This, once again, is demonstrably untrue as the
                         9 alleged assignment was not unconditional, was not perpetual, was not irrevocable, and
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                        10 was limited only to those works “disclosed in writing to, published, merchandised,

                        11 advertised and/or licensed by [SLMI].” See RJN, Exhibit “O”. Moreover, the 1998
                        12 Agreement, by its own terms, was conditioned upon Lee receiving a regular salary
                        13 (which ceased in 2001) and, furthermore, it excluded any posthumous rights. Id.
                        14         Finally, Plaintiff alleges that “the most glaring unscrupulous activity was falsely

                        15 claiming the IP rights to Stan Lee’s IP.” Compl. ¶ 37. Plaintiff advances such allegation
                        16 notwithstanding that the Complaint acknowledges that Stan Lee specifically assigned
                        17 his intellectual property rights to POW! “on no less than 6 occasions.” Compl. ¶ 18.
                        18         Considering the foregoing, coupled with the fact that Plaintiff promptly alerted

                        19 the media on September 27, 2019, only one day after filing the Complaint on September
                        20 26, 2019, but has yet to serve Defendant after more than a month, it is clear Plaintiff’s
                        21 purpose in bringing this frivolous action was merely to harass POW! and its
                        22 management. Eriq Gardner, Stan Lee’s Daughter Sues to Reclaim His Intellectual

                        23 Property,         The       Hollywood         Reporter        (Sept.       27       2019),

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                         1 https://www.hollywoodreporter.com/thr-esq/stan-lees-daughter-sues-reclaim-his-

                         2 intellectual-property-1243840. Notably, if this action were so desperately in need of
                         3 adjudication, as Plaintiff repeatedly asserts throughout the Complaint, then Plaintiff
                         4 would have promptly served the Complaint on POW!, whose offices are located within

                         5 literal walking distance of those of Plaintiff’s counsel.
                         6         Accordingly, this Court should sanction Plaintiff for filing the Complaint, which

                         7 is filled with frivolous claims and demonstrably false and inflammatory accusations,
                         8 in order to harass POW!.
                         9         C. THE APPROPRIATE MEASURE OF SANCTIONS IN THIS CASE,
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                                      GIVEN THE WILLFUL NATURE OF THE VIOLATIONS AND THE
                        10            PLAINTIFF’S FINANCIAL STATUS, MUST BE SUBSTANTIAL.
                        11         Considering the frivolousness of the claims contained in Plaintiff’s Complaint
                        12 as well as the intentional harassing purpose for which it was brought, the measure of
                        13 sanctions to be imposed upon the Plaintiff should be substantial.
                        14         “[T]he central purpose of Rule 11 is to deter baseless filings in district court[.]”
                        15 Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990); see also Business Guides,
                        16 Inc. v. Chromatic Communications Enterprises, Inc., 498 U.S. 533, 553 (1991). The
                        17 Advisory Committee notes to the 1993 amendments to Rule 11 set forth factors that
                        18 may be considered in determining what sanctions to award for a violation, including,
                        19 “what amount, given the financial resources of the responsible person, is needed to
                        20 deter that person from repetition in the same case [and] what amount is needed to deter
                        21 similar activity by other litigants.” Fed. R. Civ. P. 11, 1993 Advisory Notes. Other
                        22 factors to consider are: “[w]hether the improper conduct was willful, or negligent;

                        23 whether it was part of a pattern of activity, or an isolated event; whether it infected the

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                         1 entire pleading, or only one particular count or defense; whether the person has engaged

                         2 in similar conduct in other litigation; whether it was intended to injure; what effect it
                         3 had on the litigation process in time or expense; whether the responsible person is
                         4 trained in the law.” Id. Additionally, “a court can properly consider plaintiff's ability to

                         5 pay monetary sanctions as one factor in assessing sanctions.” Warren v. Guelker, 29
                         6 F.3d 1386, 1390 (9th Cir. 1994). Moreover, a court is within its power to order a
                         7 substantial monetary award where only such an award would deter the sanctioned party
                         8 from engaging in similar conduct in the future. Lorentzen v. Anderson Pest Control, 64
                         9 F.3d 327, 330 (7th Cir. 1995), cert. denied, 517 U.S. 1136 (1996).
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                        10         Here, Plaintiff’s intent is clear: to bring wholly frivolous claims in an effort to

                        11 smear the reputation of POW! and its management. The Complaint is replete with
                        12 frivolous claims and unfounded allegations, which infect the entire document from start
                        13 to finish. Inexplicably, a licensed attorney certified these frivolous claims. Moreover,
                        14 it is widely known that the Plaintiff, JC Lee, has recently inherited an estate that has an
                        15 estimated worth between $50 and $70 million. Mike Barnes, Stan Lee, Marvel Comics’
                        16 Real-Life Superhero, Dies at 95, The Hollywood Reporter (Nov. 12, 2018),
                        17 https://www.hollywoodreporter.com/heat-vision/stan-lee-dead-marvel-comics-real-
                        18 life-superhero-was-95-721450. Given Plaintiff’s significant financial resources, a
                        19 modest award of sanctions will do little to deter future bad acts and only a substantial
                        20 award of sanctions will discourage similar subsequent conduct.
                        21         Accordingly, considering the willful conduct at play, the insidious intent of the

                        22 underlying Complaint, the extraordinary degree to which the Claims are meritless

                        23 despite the benefit of representation by legal counsel, and the Plaintiff’s financial

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                         1 status, this Court should impose a substantial measure of sanctions upon the Plaintiff

                         2 and her counsel, reasonably calculated to deter Plaintiff and her counsel from filing
                         3 future similarly frivolous actions.
                         4         CONCLUSION

                         5         For the foregoing reasons, Defendant respectfully requests that this Court

                         6 sanction the Plaintiff and her legal counsel pursuant to Fed. R. Civ. P. 11(b) as follows:
                         7         1. Order the dismissal of the Plaintiff’s complaint in its entirety.

                         8         2. Order that the Plaintiff, her legal counsel, and the corresponding law firm of

                         9            Plaintiff’s counsel, are jointly and severally liable for the Defendant’s
HAMRICK & EVANS, LLP




                        10            attorney’s fees and costs, the exact amount to be determined by separate

                        11            supporting memorandum.

                        12         3. Order that the Plaintiff, her legal counsel, and the corresponding law firm of

                        13            Plaintiff’s counsel, are jointly and severally liable for a measure of sanctions,

                        14            the exact amount of which to be determined by the Court, taking into

                        15            consideration the Plaintiff’s substantial financial resources and the

                        16         exceptionally frivolous nature of her claims.
                                                                  Respectfully submitted,
                        17   DATED: December 3, 2019              HAMRICK & EVANS, LLP
                        18
                        19                                            By: /s/ Charles C. Rainey, Esq. _________
                                                                          A. RAYMOND HAMRICK, III
                        20                                                CHARLES C. RAINEY
                                                                         GEORGE KNOPFLER
                        21                                               Attorneys for
                                                                         POW! Entertainment, Inc.
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                                         NOTICE OF MOTION AND DEFENDANT’S MOTION FOR SANCTIONS
                       Case 2:19-cv-08353-ODW-FFM Document 10 Filed 12/03/19 Page 29 of 31 Page ID #:61




                         1                             RULE 11(c)(2) CERTIFICATE
                                   Pursuant to Rule 11(c)(2), I hereby certify that on the 11th day of November,
                         2
                             2019, I served by email and first class certified mail, postage prepaid, with return
                         3
                             receipt and delivery confirmed, upon the counsel of record for Plaintiff, JOAN CELIA
                         4
                             LEE, as Trustee for the Lee Family Survivor’s Trust “A” Date October 12, 1985, a
                         5 copy of the foregoing Defendant POW! Entertainment, LLC’s Motion for Sanctions
                         6 Pursuant to Fed. R. Civ. P. 11, together with a letter stating as follows:
                         7               Pursuant to Fed. R. Civ. P. 11(c) (2), attached is a
                                         service copy of the Fed. R. Civ. P. 11 Motion for
                         8               Sanctions of POW! Entertainment (“Motion for
                         9               Sanctions”) which we are providing to you. We demand
HAMRICK & EVANS, LLP




                                         that you dismiss with prejudice your claims against
                        10               POW! Entertainment, LLC within 21 days of the date
                                         of this letter. If you refuse to dismiss your claims against
                        11               POW! Entertainment, LLC than we will be forced to file
                                         the attached Motion for Sanctions with the Court.
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                                                              By:     /s/ Charles C. Rainey, Esq.
                        14                                           Charles C. Rainey, Esq.

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                                         NOTICE OF MOTION AND DEFENDANT’S MOTION FOR SANCTIONS
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                         1                                     CERTIFICATE OF SERVICE
                                     I certify and state that I am now and at all times herein mentioned was, a citizen of the United States,
                         2   over the age of eighteen (18) years, a resident of the County of Los Angeles, and not a party to the within
                             action or cause. My business address is Hamrick & Evans, LLP, 2600 West Olive Avenue, Suite 1020,
                         3   Burbank, California 91505.

                         4           I hereby certify that I am employed in the office of a member of the bar of this court at whose direction
                             the service was made.
                         5           I further certify that on December 3, 2019, I caused to be served the copies of the attached:

                         6           NOTICE OF MOTION AND MEMORANDUM OF POINTS AND AUTHORITIES IN
                                     SUPPORT OF DEFENDANT POW! ENTERTAINMENT, INC.’S MOTION FOR
                         7           SANCTIONS PURSUANT TO FED. R. CIV. P. 11

                             on the parties in said action as follows:
                         8
                                     BY REGULAR MAIL: by placing a true copy thereof enclosed in a sealed
                         9          envelope with postage thereon fully prepaid, for collection and mailing at
HAMRICK & EVANS, LLP




                                     my place of business following ordinary business practices. Said
                        10           document(s) will be deposited with United States Post Office mail box at
                                     Burbank, California, addressed as follows:
                        11                                      SEE ATTACHED SERVICE LIST
                        12           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically
                                    filed the document(s) with the Clerk of the Court by using the CM/ECF
                        13           system. Participants in the case who are registered CM/ECF users will be
                                     served by the CM/ECF system. Participants in the case who are not
                                     registered CM/ECF users will be serve by mail or by any other means
                        14           permitted by the court rules.
                        15          (Federal) I declare that I am employed in the office of a member of the Bar of this Court, at whose
                                     direction the service was made.
                        16           Executed on December 3, 2019, at Burbank, California.
                        17                                                                    /s/ Heather Martindale
                        18                                                                    Heather Martindale

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                                             NOTICE OF MOTION AND DEFENDANT’S MOTION FOR SANCTIONS
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                                                            SERVICE LIST
                         1                     Joan Celia Lee v. POW! Entertainment, et al.
                         2                           Case No. 2:19-cv-08353-ODW

                         3     Jonathan D. Freund, Esq.              Attorneys for Plaintiff Joan Celia Lee
                         4     FREUND LEGAL
                               427 N. Camden Drive                   T: (310) 247-2165
                         5     Beverly Hills, California 90210       Email: jonathan@freundlegal.com

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HAMRICK & EVANS, LLP




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                                        NOTICE OF MOTION AND DEFENDANT’S MOTION FOR SANCTIONS
